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   United States of America
 7

 8                                       IN THE UNITED STATES DISTRICT COURT

 9                                   FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:11-CR-00514 TLN

12                                        Plaintiff,       STIPULATION REGARDING RESTITUTION FOR
                                                           ROMAN MALAKHOV; FINDINGS AND ORDER
13                              v.
                                                           DATE: AUGUST 29, 2013
14   AHMED CHARTAEV, et. al.,                              TIME: 9:30 A.M.
                                                           JUDGE: TROY L. NUNLEY
15                                        Defendant.

16

17                                                     STIPULATION
18           Plaintiff United States of America, by and through its counsel of record, and defendant Roman
19 Malakhov, by and through his counsel of record, hereby stipulate as follows:

20           1.       By previous order, this matter was set for a restitution hearing for August 29, 2013.
21           2.       By this stipulation, defendant and plaintiff now move for the Court to issue an order
22 setting the restitution amount owed by Mr. Malakhov to be $266,497.88.

23           3.       The parties agree and stipulate, and request that the Court find the following:
24                    a.       The United States has represented that both Bank of America Home Loans and
25 JPMorgan Chase Bank, NA submitted claims for restitution for some of the loans that have a loss, due in

26 at least in part to Mr. Malakhov’s conduct and which are discussed in Mr. Malakhov’s Pre-Sentencing

27 Report (“PSR”). These properties include 3720 Topaz, Road, West Sacramento, California; 2242

28 Sebastian Way, Roseville, California; and 2548 Gabriel Court, Carmichael, California.

     Stipulation for Restitution Order                      1
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 1                    b. Bank of America has submitted a loss claim for $129,497.88 for BANA Loan Number

 2 76210013, which is a loan on the property located at 3720 Topaz Road. This amount represents an

 3 unpaid principal balance of $128,968.82 and a servicing cost of $529.05, totaling $129,497.88. As of

 4 this date, neither Bank of America nor any other entity has claimed a loss for the other $516,000 loan

 5 that was taken out on the Topaz Property. The parties agree that Malakhov should be ordered to pay

 6 restitution to Bank of America Home Loans in the amount of $129,497.88, which represents a loss

 7 associated with the 3720 Topaz Road property. This money should be directed to the following address:

 8 Bank of America Home Loans
   Attn: Donna McLauchlin
 9 NC4-105-102-11 (Cash Remittance-Fraud)
   4161 Piedmont Parkway
10 Greensboro, NC 27410

11                    b.       Bank of America has also submitted a loss claim of $393,947.70 for BANA Loan

12 Number 76357295, which is a loan on the property located at 2242 Sebastian Way. This figure

13 represents $649,709.41 in unpaid principal balance, $55,250.87 in unpaid interest, and $4,060.93 in

14 servicing costs minus sale proceeds on the property of $315,073.51. Because Malakhov was only held

15 responsible for $50,000 of the loss associated with this property in the PSR, the parties agree that

16 Malakhov should be ordered to pay restitution to Bank of America Home Loans in the amount of

17 $50,000, which represents a loss associated with the 2242 Sebastian Way property. This money should

18 be directed to the following address:

19 Bank of America Home Loans
   Attn: Donna McLauchlin
20 NC4-105-102-11 (Cash Remittance-Fraud)
   4161 Piedmont Parkway
21 Greensboro, NC 27410

22                    c.       JPMorgan Chase Bank, NA submitted a loss claim of $536,344.60 for a loan on

23 the property located at 2548 Gabriel Court. Because Malakhov was only held responsible for $87,000 of

24 the loss associated with this property in the PSR, the parties agree that Malakhov should be ordered to

25 pay restitution to JPMorgan Chase Bank, NA in the amount of $87,000, which represents a loss

26 associated with the 2548 Gabriel Court property. This money should be directed to the following

27 address:

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     Stipulation for Restitution Order                    2
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 1 JPMorgan Chase Bank, NA
   7610 West Washington Street
 2 Indianapolis, Indiana 46231

 3
                      d.       The United States Probation Department has reviewed and supports this
 4
     stipulation and proposed order.
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     IT IS SO STIPULATED.
 7
     DATED: August 21, 2013                                BENJAMIN B. WAGNER
 8                                                         United States Attorney

 9                                                         /s/ Lee S. Bickley
                                                           LEE S. BICKLEY
10                                                         Assistant United States Attorney

11                                                         For the UNITED STATES OF AMERICA

12
     DATED: August 21, 2013                                /s/ Lee S. Bickley for
13                                                         CHRISTOPHER COSCA

14                                                         For defendant ROMAN MALAKHOV

15

16                                                    ORDER

17
             IT IS SO FOUND AND ORDERED that defendant Roman Malakhov is ordered to pay
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     $266,497.88 in restitution. Payment of restitution shall be by cashier’s or certified check made payable
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     to the Clerk of the Court. $129,497.88 of this restitution should be directed to Bank of America Home
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21 Loans, Attn: Donna McLauchlin, NC4-105-102-11 (Cash Remittance-Fraud), 4161 Piedmont Parkway,

22 Greensboro, NC 27410, for payment of losses associated with BANA Loan 76210013, associated with

23 3720 Topaz Road, West Sacramento. $50,000 of this restitution should be directed to Bank of America

24
     Home Loans, Attn: Donna McLauchlin, NC4-105-102-11 (Cash Remittance-Fraud), 4161 Piedmont
25
     Parkway, Greensboro, NC 27410, for payment of losses associated with and BANA Loan 76357295,
26
     associated with 2242 Sebastian Way, Roseville, California. $87,000 of this restitution should be
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 1 directed to JPMorgan Chase Bank, NA, 7610 West Washington Street, Indianapolis, Indiana 46231, for

 2 a loan associated with 2548 Gabriel Court, Carmichael, California.

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 4
     this 22nd day of August, 2013.
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 6                                                              Troy L. Nunley
                                                                United States District Judge
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     Stipulation for Restitution Order                4
